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 5
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 6   JORGE PEREZ ROBLES

 7

 8                                   UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                    )   Case No.: 1:14-CR-00045-002
                                                  )
12                                                )   DEFENDANT’S APPLICATION FOR
                             Plaintiff,           )   EXONERATION OF PROPERTY BOND
13                                                )   AND RECONVEYANCE OF REAL
     vs.                                          )   PROPERTY
14                                                )
     JORGE PEREZ ROBLES,                          )
15                                                )
                                                  )
16                           Defendant            )
                                                  )
17

18           Defendant, JORGE PEREZ ROBLES, by and through his attorney of record, Dale A.

19   Blickenstaff, hereby requests an order exonerating the property bond and for reconveyance of

20   real property in this action.

21           On March 19, 2014, Honorable Sheila Oberto, U.S. Magistrate Judge, ordered JORGE

22   PEREZ ROBLES released from custody on a $79,659.84 property bond, which represented the

23   full equity in real property owned by the Defendant’s mother, Irene Perez. On April 8, 2014, a

24   certified copy of the deed of trust for APN 471-321-23 (Fresno County document # 2014-

25   0030159, and recorded on March 17, 2014, at the Fresno County Recorder) and an original
26   straight note in the amount of $79,659.84 were received by the court. See Docket Entry 25.
27           On March 30, 2015, this court sentenced Defendant to the custody of the United States

28   Bureau of Prisons for a total term of 60 months as to Count 2 of the Indictment. All other
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     relevant counts as to this Defendant were dismissed by the government. Defendant was allowed
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     to self surrender to the designated prison facility and did so on June 9, 2015.
 3
            Since the Defendant has been sentenced and is in the custody of the Federal Bureau of
 4
     Prisons, it is respectfully requested that the property bond in this matter be immediately
 5
     exonerated and that the property posted as collateral for the bond be reconveyed to Irene Perez.
 6
     Dated: July 16, 2015
 7
                                                   By /S/ Dale A. Blickenstaff____________
 8                                                 DALE A BLICKENSTAFF, Attorney for
                                                   Defendant, JORGE PEREZ ROBLES
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11

12                                                ORDER
13          It is hereby ordered that the property bond, for APN 471-321-23, in the above-captioned
14   case be exonerated and title to the real property be reconveyed to Irene Perez.
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16   IT IS SO ORDERED.

17   Dated: July 16, 2015
                                                  SENIOR DISTRICT JUDGE
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